282 F.2d 899
    Don JORDAN, Plaintiff-Appellant,v.Bernardo PARET also known as Benny 'Kid' Paret, et al.,Defendant-Respondent.
    Docket 26508.
    United States Court of Appeals Second Circuit.
    Motion Argued Oct. 10, 1960.Decided Oct. 19, 1960.
    
      Geroge Berkowitz, New York City, for plaintiff-appellant.
      Roberto Lebron, New York City, for defendant-respondent.
      Before CLARK and FRIENDLY, Circuit Judges, and DIMOCK, District Judge.
      PER CURIAM.
    
    
      1
      The motion for a stay is denied.  Examination of the affidavits before the District Judge convinces us that he properly exercised his discretion in refusing to issue a temporary injunction.  Apparently the postponement of the boxing match scheduled for October 19 will now make it possible to proceed with a trial on the merits.  In order to expedite this course we affirm the denial of the temporary injunction without prejudice to further proceedings in the District Court for temporary or final relief.
    
    